       Case 1:06-cr-00313-DAD Document 247 Filed 10/01/08 Page 1 of 2


 1   ROGER K. LITMAN, 57634
     Attorney at Law
 2   Civic Center Square
     2300 Tulare Street, Suite 230
 3   Fresno, California 93721
     Telephone: (559) 237-6000
 4
     Attorney for Defendant, SOTHORN DAMLONG
 5
 6
                   IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                           EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,   )               CASE NO. 06-00313 LJO
10                               )
          Plaintiff,             )
11                               )               STIPULATION AND ORDER
         v.                      )
12                               )
     SOTHORN DAMLONG,            )
13                               )
          Defendant.             )
14   ____________________________)
15         The parties hereto, by and through their respective attorneys, stipulate and
16   agree that Sentencing scheduled for October 3, 2008 be continued until October
17   31, 2008 at 8:30 a.m. in the above-entitled court.
18         The requested continuance is appropriate because this case has recently
19   been reassigned within the United States Attorney’s Office. Defense counsel and
20   the newly assigned Assistant United States Attorney need additional time to review
21   the emails exchanged between defense counsel and the prosecutor’s predecessor
22   concerning the extent to which Mr. Damlong is entitled to assistance from the
23   government so as to permit him to receive a sentence below the mandatory
24   minimum. In addition, defense counsel requested, pursuant to Rule 12, specified
25   discovery relevant to the issue of sentencing. The additional time will allow Ms.
26   Escobar to obtain the requested document or, in the event the parties are unable
27   to agree to Mr. Damlong’s entitlement to the requested document, will afford
28   defense counsel sufficient time to file an appropriate pleading.

                                             1
       Case 1:06-cr-00313-DAD Document 247 Filed 10/01/08 Page 2 of 2


 1            The parties also agree that any delay resulting from this continuance shall
 2   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
 3   3161(h)(8)(A) and 3161(h)(8)(B)(I).
 4
     DATED: October 1, 2008                 /s/ Kimberly Sanchez_      __
 5                                          KAREN ESCOBAR
                                            Assistant United States Attorney
 6                                          This was agreed to by Ms. Escobar
                                            via email on October 1, 2008
 7
 8   DATED: October 1, 2008                 /s/ Roger K. Litman
                                            ROGER K. LITMAN
 9                                          Attorney for Defendant
                                            SOTHORN DAMLONG
10
     THE COURT FINDS GOOD CAUSE TO CONTINUE THE SENTENCING, AND THE
11
     HEARING IS THEREFORE CONTINUED TO OCTOBER 31, 2008 AT 8:30 A.M..
12
     IT IS SO ORDERED.
13
     Dated:     October 1, 2008                /s/ Lawrence J. O'Neill
14   b9ed48                                UNITED STATES DISTRICT JUDGE
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               2
